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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

INTERNATIONAL PAPER COMPANY                         )
                                                    )
              Plaintiff,                            )
                                                    )      No: 1:18-cv-1229
       v.                                           )
                                                    )
GEORGIA-PACIFIC CONSUMER                            )
PRODUCTS LP, FORT JAMES                             )
CORPORATION, GEORGIA-PACIFIC                        )
LLC, NCR CORPORATION,                               )
and WEYERHAEUSER COMPANY,                           )
                                                    )
              Defendants.                           )


                                 JOINT MOTION TO STAY

       Plaintiff International Paper Company and Defendants Georgia-Pacific Consumer

Products LP, Fort James Corporation, Georgia-Pacific LLC, and Weyerhaeuser Company jointly

move to stay this case pending the outcome of proceedings in the Supreme Court of the United

States in Georgia-Pacific Consumer Products LP et al. v. NCR Corporation, et al. Case No. 1:11-

cv-00483 (RJJ) (the “Original Case”).

       1. The Original Case involves liability for costs associated with the Kalamazoo River

and Portage Creek Superfund Site (the “Site”). So does this case. International Paper filed this

action to recover costs it has expended remediating a portion of the Site. The company incurred

those costs after the commencement of the Phase II trial in the Original Case and those costs are

not included in the judgment entered in the Original Case. The parties to this case and the

Original Case are the same.

       2.   In 2018, this Court granted a stay “pending issuance of a mandate after final

adjudication of the appellate proceedings” in the Original Case. ECF No. 18. On July 22, 2022,
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the Court of Appeals for the Sixth Circuit issued the mandate following its disposition of the

appeal in the Original Case. See ECF No. 976, Case No. 1:11-cv-00483.

       3. Defendants Georgia-Pacific Consumer Products LP, Fort James Corporation, and

Georgia-Pacific LLC (collectively, “Georgia-Pacific”) intend to petition the Supreme Court of

the United States for a writ of certiorari to consider issues presented by the Original Case.

       4. The Supreme Court’s disposition of the Original Case could have a substantial impact

on this case. As the parties have previously recognized, see ECF Nos. 7, 16, 17, the issues

presented by the Original Case directly bear on this case. It would thus constitute a waste of

judicial economy and the parties’ time and resources for the Court to proceed with the instant

action before the Supreme Court finally disposes of the Original Case.

       5. Georgia-Pacific, International Paper, and Weyerhaeuser agree that the proceedings in

the instant action should be stayed until the Supreme Court either denies the petition for

certiorari in the Original Case or decides the case on the merits.

       6. Georgia-Pacific asked for NCR Corporation’s position on the motion and it stated that

it did not oppose.

       Because it will serve the interests of the Court, the parties, and counsel, Georgia-Pacific,

International Paper, and Weyerhaeuser jointly request that the Court stay this case until the

Supreme Court finally resolves the Original Case, Case No. 1:11-cv-00483.



Dated: August 8, 2022                         Respectfully submitted,



                                                /s/ George P. Sibley, III




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 8, 2022, I electronically filed the foregoing using the ECF

system which will send notification of such filing by operation of the Court’s electronic systems.

Parties may access this filing via that Court’s electronic system.



                                                      /s/ George P. Sibley, III




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